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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION


    ALABAMA SPACE SCIENCE       }
    EXHIBIT COMMISSION d/b/a
                                }
    U.S. SPACE & ROCKET CENTER,
                                }
                                }
                                }
          Plaintiff,
                                }
                                }                     Case No.: 5:14-cv-00413-MHH
                                }
    v.
                                }

                                                 }
    ODYSSEIA CO. LTD.,
                                                 }


        Defendant.



                     MEMORANDUM OPINION AND ORDER

       This case is before the Court on the Alabama Space Science Exhibit

Commission’s motion for summary judgment. (Doc. 89).1 The Alabama Space

Science Exhibit Commission or ASSEC is the exclusive licensor of the Space

Camp® trademark and related designs, processes, and materials. Odysseia Co. Ltd.,



1
 In its motion, ASSEC asked for the fourth time that this Court remand this action to state court.
(Doc. 89, p. 1). In a separate memorandum opinion and order, the Court denied that request. (Doc.
104).

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a South Korean company, executed an “Offer to Enter into License Agreement” with

ASSEC for a Space Camp® program in South Korea. After Odysseia paid ASSEC

$1.75 million, the fee ASSEC required for a Space Camp® license, ASSEC passed

on a licensing agreement with Odysseia and began license negotiations with another

company in South Korea. ASSEC has not refunded Odysseia’s $1.75 million

payment.

      In its complaint, ASSEC asks the Court to declare that its “Offer to Enter into

License Agreement” with Odysseia expired and to enjoin Odysseia from claiming

rights under the draft licensing agreement attached to the Offer document. (Doc. 1-

1, p. 5). In its answer, Odysseia asserts state law counterclaims for breach of

contract, unjust enrichment, promissory estoppel, and promissory fraud. (Doc. 32,

pp. 13–18). ASSEC has asked the Court to enter judgment in its favor on Odysseia’s

counterclaims. (Doc. 89). This opinion resolves ASSEC’s summary judgment

motion.

      The opinion is organized in three sections. First, the Court outlines the

standard for a Rule 56 motion for summary judgment. Then, the Court discusses the

evidence concerning the ASSEC-Odysseia relationship. Finally, the Court identifies

the legal standards that govern Odysseia’s state law claims and examines the

summary judgment evidence under those standards.




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                                            I.

      A district court “shall grant summary judgment if the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(a). To demonstrate a genuine dispute as to a

material fact, a party must cite “to particular parts of materials in the record,

including depositions, documents, electronically stored information, affidavits or

declarations, stipulations (including those made for purposes of the motion only),

admissions, interrogatory answers, or other materials.” FED. R. CIV. P. 56(c)(1)(A).

“The court need consider only the cited materials, but it may consider other materials

in the record.” FED. R. CIV. P. 56(c)(3).

      “A litigant’s self-serving statements based on personal knowledge or

observation can defeat summary judgment.” United States v. Stein, 881 F.3d 853,

857 (11th Cir. 2018). Even if a district court doubts the veracity of the evidence, the

court cannot make credibility determinations. Feliciano v. City of Miami Beach, 707

F.3d 1244, 1252 (11th Cir. 2013) (citing Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255 (1986)). Conclusory statements in a declaration cannot by themselves

create a genuine issue of material fact. See Stein, 881 F.3d at 857 (citing Lujan v.

Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990)).




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      When considering a motion for summary judgment, a district court views the

evidence in the record in the light most favorable to the non-moving party and draws

reasonable inferences in the non-movant’s favor. Asalde v. First Class Parking Sys.

LLC, 898 F.3d 1136, 1138 (11th Cir. 2018). Accordingly, for ASSEC’s summary

judgment motion, the Court views the evidence in the light most favorable to

Odysseia and draws all reasonable inferences in Odysseia’s favor.

                                       II.

       ASSEC owns and operates “Space Camp®” and licenses the program and

related products internationally. (Doc. 1-1, p. 3, ¶¶ 6, 8). On March 20, 2006,

Odysseia agreed in writing to pay ASSEC “a nonrefundable payment in the amount

of U.S. $1,750,000 for a Space Camp® license . . . .” (Doc. 1-3, p. 2, ¶ 2). The

writing consists of a four-page signed “Offer to Enter into License Agreement”

which contains the license fee provision quoted in the previous sentence and a 24-

page unsigned Draft License Agreement attached as an appendix to the Offer

document. (Doc. 1-3, pp. 2–5; Doc. 1-3, pp. 6–29). The Draft License Agreement

contains the following provision concerning a license fee:

      In consideration of the license granted herein, Licensee shall pay
      licensor a license fee of One Million Seven Hundred Fifty Thousand
      U.S. Dollars ($1,750,000) for SPACE CAMP® (9 – 12 years of age),
      SPACE ACADEMY® (12 – 14 years of age) and ADVANCED
      SPACE ACADEMY® (15 – 18 years of age) which shall be due in
      lawful currency of the United States, by wire transfer in immediately
      available funds on or before the date of this agreement.



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(Doc. 1-3, p. 10, ¶ V(A)).

      The Offer document established a timetable for Odysseia to pay the

nonrefundable $1.75 million license fee in three installments.

      The first amount of $250,000 USD is due on or before March 30, 2006
      (the “First Deposit”), the second amount of $500,000 is due on or
      before April 1, 2007 (the “Second Deposit”)[, and] $1,000,000 (the
      “Final Payment”) is due upon the signing of the License Agreement or
      July 2, 2007 (unless the Offer Termination Date is extended per
      paragraph 2), whichever occurs first and shall be payable in cash in
      lawful currency of the United States, by wire transfer in immediately
      available funds.

(Doc. 1-3, p. 3, ¶ 2). The fee provision in the Offer document expressly links the

nonrefundable $1.75 million consideration for ASSEC’s offer to the fee provision in

the Draft License Agreement. The fee provision in the Offer states:

      Licensee hereby expressly acknowledges and agrees that under no
      circumstance shall Licensor be obligated to pay or return all or any part
      of the Payment to Licensee or any other person or entity, nor shall
      Licensee or any other person or entity have any claim against Licensor
      for or in respect of all or any part of the Payment; provided that if
      Licensee accepts Licensor’s offer to enter into the Licensing
      Agreement on or before the Offer Termination Date, the First Deposit,
      Second Deposit, Final Payment, and any extension payments shall be
      applied to and constitute a credit against payment of the license fee set
      forth in Section V.A of the Licensing Agreement.

(Doc. 1-3, p. 3, ¶ 2).

      The Offer contains an option for extending the “offer termination date” for up

to one year. The Offer states:

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      1. Licensor hereby offers to enter into the Licensing Agreement with
      Licensee at any time after March 20, 2006, but on or prior to August 1,
      2007, unless extended per paragraph 2 (the “Offer Termination Date”).

      2. * * *

      Prior to thirty days before the expiration of this agreement the Licensee
      may elect to extend the expiration date by a period of three months.
      Each extension requires an additional nonrefundable payment of
      $250,000 to be received by Licensor, which will reduce the Final
      Payment accordingly. There will be up to four extensions allowed for a
      maximum of twelve months extension and a maximum of an additional
      $1,000,000 paid. All payments will reduce the total nonrefundable
      amount of $1,750,000 by the amount of the payments thereby reducing
      the Final Payment accordingly.

(Doc. 1-3, pp. 2–3, ¶¶ 1, 2). The four extensions were exercisable on or before July

1, 2007; October 1, 2007; January 1, 2008; and April 1, 2008. (Doc. 1-3, p. 2). If

Odysseia exercised all four extensions, the Offer would expire on August 1, 2008.

(Doc. 1-3, p. 2).

      Regarding the expiration of the Offer, the agreement states:

      9. [O]n August 1, 2007 at 1700 hours (CDT) (unless the Offer
      Termination Date is extended per paragraph 2), this Agreement will be
      deemed to expire and Licensor shall have no obligation whatsoever to
      Licensee or any other person or entity with respect to this Agreement,
      the Licensing Agreement or any of the matters contained herein or
      therein, and shall be free to contract with any other person with respect
      to such matters without any obligation or liability to Licensee or any
      other person or entity. This paragraph shall supersede any and all prior
      understandings of the parties, oral or written.

      10. If the Licensing Agreement has not been entered into on or prior to
      the Offer Termination Date, then this Agreement shall be of no force or


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       effect and shall terminate on and as of such date, Licensor shall have
       no obligation or liability to Licensee or any other person or entity,
       including any proposed Licensee, with respect to the matters set forth
       herein or in the Licensing Agreement, and Licensee shall have no
       further obligation or liability to Licensor with respect to the matters set
       forth herein or in the License Agreement.

(Doc. 1-3, p. 4, ¶¶ 9–10).

       The Offer obligated Odysseia “[p]rior to execution of the Licensing

Agreement” to “promptly” give ASSEC information ASSEC requested “pertaining

to the status of development of the facility to be licensed pursuant to the Licensing

Agreement (the ‘Facility’), and any other specified information such as, without

limitation, investment information, ownership information, and financial

information.” (Doc. 1-3, p. 4, ¶ 4). The Offer indicates that the Offer Agreement

“and the attachments hereto shall constitute the full and complete agreement”

between the parties. (Doc. 1-3, p. 4, ¶ 5). The Offer states that it “may only be

amended by a writing duly executed pursuant to all corporate or other authority by

the parties hereto,” (Doc. 1-3, p. 4, ¶ 6), and provides that the agreement must be

interpreted and construed according to Alabama law, (Doc. 1-3, p. 5, ¶ 12). The

Offer is signed by U.S. Space & Rocket Center CEO General Larry R. Capps and

by Odysseia CEO Dr. Byung-Rok Song. (Doc. 1-3, p. 5).2




2
 ASSEC does business as the U.S. Space & Rocket Center. Many communications between the
parties refer to ASSEC as USSRC. For purposes of this opinion, the names are interchangeable.

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       The “Draft Agreement Copy” of the “U.S. Space & Rocket Center® License

Agreement” between ASSEC and Odysseia, for a “date to be determined,” states

that ASSEC, “within one hundred twenty (120) days of the final payment of the

license fee,” “shall make available” to Odysseia “prototype building design concepts

of the training center, dormitory, cafeteria, and gift shop, including interior and

exterior designs, signs, and such descriptions or specifications for equipment for the

Facility” and “shall give” Odysseia “reasonable opportunities to question” ASSEC

about those documents. (Doc. 1-3, p. 6 (emphasis in Draft Agreement); Doc. 1-3, p.

11, ¶ VI.A).3 Likewise, the draft license agreement states that “within one hundred

twenty (120) days of the final payment of the license fee,” ASSEC “shall provide”

to Odysseia a copy of the Space Camp® Manual. (Doc. 1-3, p. 12, ¶ VI.G). 4 The

draft license agreement states that “[p]rior to the opening” of the Space Camp®

facility in South Korea, ASSEC must provide Odysseia site evaluation assistance,

review Odysseia’s plans for the Space Camp® facility, and assist Odysseia with

marketing and promotion of the Space Camp®. (Doc. 1-3, p. 11, ¶ VI.B).




3
 Under the draft license agreement, “‘Facility’ means a planned educational center, in a Licensor-
approved location, providing programs on space exploration, science and technology to Campers,
which is modeled after the Space Camp® in Huntsville, Alabama, U.S.A. and is substantially
based on the Space Camp® System, as defined herein.” (Doc. 1-3, p. 7, ¶ I.B).
4
  Under the draft license agreement, “‘Manual’ means the current version of Licensor’s
confidential operating manual as amended by Licensor from time to time.” (Doc. 1-3, p. 7, ¶ I.D).




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      Under the draft license agreement, during the term of the agreement, “except

as otherwise provided,” ASSEC could not “establish, directly or indirectly nor

license another to establish, any part of the Space Camp Business” in South Korea

“or elsewhere, without [Odysseia’s] prior written consent.” (Doc. 1-3, p. 8, ¶ II.C).

      Each page of the draft license agreement contains the notation “Draft

Agreement Copy” in the upper right-hand corner, (Doc. 1-3, pp. 6–29), and the

notation “DRAFT AGREEMENT DO NOT SIGN” appears to the left of the

signature lines for General Capps and Dr. Song on the final page of the draft license

agreement, (Doc. 1-3, p. 29).

      Notations on the fee provision in the Offer document in English and in Korean

reflect dates on which Odysseia made payments toward the $1.75 million license

fee. Odysseia made a $500,000 license fee payment on April 13, 2007. (Doc. 1-3,

p. 3). Odysseia made another $250,000 payment at some point before June 4, 2007.

(Doc. 1-3, p. 3; Doc. 1-5, p. 6).

      On June 4, 2007, less than one month before the final $1 million license

payment was due, Odysseia asked ASSEC to extend the Offer Termination Date per

paragraph 2 of the Offer document. (Doc. 1-3, p. 3; Doc. 87-25, p. 2). In a letter to

General Capps, Dr. Song stated:

      I will explain the reason for asking the extension after 2008. When I
      made the agreement, I expected the site would be settled by early 2007
      and I could get funding from the Project Financing soon. But with the
      delay the Project Financing is likely hard to proceed.

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      ***

      As I told you before, after election on December the site will be fixed
      and once it is done, the financing would be no problem any more.
      Therefore I sincerely ask you to hold the payment after 2008. One thing
      obvious is I will manage to defray half to the amount($500,000)
      January 2008 and the others before July 1st 2008.

(Doc. 87-25, p. 2).

      On June 28, 2007, ASSEC agreed to extend the Offer Termination Date.

(Doc. 1-5, p. 6). In a letter to Dr. Song, General Capps wrote:

      I received your request for [a] payment extension regarding the matter
      of the Offer to Enter into Licensing Agreement, dated March 20, 2006.
      The total due under this agreement is $1,750,000, $750,000 which has
      been paid, with a balance due of $1,000,000, all of which is
      nonrefundable, but will be applied to a license as agreed upon. You
      requested an extension of payments of the balance due to the following
      schedule:

             On or before July 31, 2007             -     $250,000

             On or before September 14, 2007        -     $250,000

             On or before June 30, 2008             -     $500,000

      I agree to the above requested schedule of payment change. This
      schedule takes precedent [sic] over the schedule in the Offer to Enter
      Licensing Agreement. This letter only amends the payment schedule of
      the aforementioned agreement. All other terms of the agreement remain
      in force.

(Doc. 1-5, p. 6). On June 29, 2007, Dr. Song signed General Capps’s letter,

indicating his acceptance of the payment schedule for Odysseia’s final $1 million

obligation. (Doc. 1-5, p. 6).

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      Odysseia made a payment of $250,000 on July 26, 2007; a payment of

$250,000 on September 21, 2007; a payment of $150,000 on June 30, 2008; and a

payment of $350,000 on July 31, 2008. (Doc. 1-3, p. 3; Doc. 1-5, p. 6; Doc. 88-22,

pp. 14–15, tpp. 152–53). In a letter dated September 2, 2008, Mike Kelly, ASSEC’s

Vice President of Licensing, acknowledged that Odysseia had “completed the

payment plan, in full, to purchase a Space Camp license.” (Doc. 88-4, p. 17). Mr.

Kelly stated that Odysseia’s completed payment “completes the ‘offer to Enter a

License Agreement[’] and opens the process for signing a final license agreement.”

(Doc. 88-4, p. 17). Mr. Kelly concluded: “Please inform me when you intend to

sign the final license agreement. Congratulations on becoming the Space Camp

licensee for Korea.” (Doc. 88-4, p. 17).

      Despite Mr. Kelly’s acknowledgment that Odysseia had become the Space

Camp licensee for South Korea, ASSEC did not sign a license agreement with

Odysseia. (Doc. 88-22, p. 9, tp. 130). There is no evidence that ASSEC ever

provided to Odysseia a final, dated license agreement for Odysseia’s signature.

Through Un Seop Song, a South Korean advisor who ASSEC retained to help

identify a Space Camp licensee for Korea, ASSEC communicated to Dr. Song that

it would not sign a license agreement with Odysseia until Odysseia “identified a

location for the [Space Camp] acceptable to ASSEC and demonstrated the proof of




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funds to start the Projects.” (Doc. 96-1, p. 2, ¶ 6).5 Through Mr. Song, Dr. Song

communicated to ASSEC that Odysseia needed the Space Camp Manual and an

executed license agreement to obtain a location and funding. (Doc. 96-1, pp. 2–3,

¶¶ 6–7). Mr. Kelly indicated that he “understood and [was] sympathetic, but he

didnot [sic] have authority to provide these needed materials until [Odysseia] and

[Dr.] Song satisfied ASSEC’s demands.” (Doc. 96-1, p. 3, ¶ 9). After Odysseia

completed its license fee payment in September of 2008, Mr. Song repeatedly told

Mr. Kelly that Odysseia needed “a signed License, the Project Concept Materials,

and the Manual” to move forward with site selection and financing for a Space

Camp. (Doc. 96-1, p. 3, ¶ 7). Mr. Kelly repeatedly refused to provide the materials

before Odysseia had “provided an acceptable Project site location.” (Doc. 96-1, p.

3, ¶ 7).

       On June 9, 2010, ASSEC sent Odysseia a letter “to notify and confirm the

expiration of the ‘Offer’ agreement dated March 20, 2006.” (Doc. 88-4, p. 19). In

the letter, Mr. Kelly stated that the Offer:

       expired August 1, 2008 (this is after one year extension as per
       agreement). We have heard no request from you to extend or modify
       the agreement. Per paragraphs 9 and 10 of the agreement, the
       agreement is deemed expired and we, the Licensor, have no obligation
       to you, the Licensee, or any other person or entity, including any
       proposed Licensee, with the [sic] respect to the matters set forth in the

5
  Mr. Song is not related to Dr. Song. (Doc. 96-1, p. 2, ¶ 2). ASSEC retained Mr. Song in 2006
to help ASSEC identify a Space Camp® licensee for South Korea. (Doc. 96-1, p. 2, ¶ 1; Doc. 96-
1, pp. 7–11).

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      Agreement, and [you], the Licensee shall have no further obligation or
      liability to Licensor with respect to the matters set for the [sic] in the
      Agreement. This letter is being sent through Mr. Un Seop Song,
      attorney at law, Seoul, Korea.

(Doc. 88-4, p. 19).

      Odysseia responded on June 18, 2010. Dr. Song wrote that Odysseia was

performing its duties, but ASSEC was not fulfilling its obligations. (Doc. 88-4, pp.

20–22). Dr. Song stated:

      On September 2, 2008, you sent me a Letter stating that you have paid
      the License Fee according to paragraph 2 as regulated, fully performing
      to the schedule and opened the final License Agreement.

      Thereafter, I have made huge efforts to search for various sites to
      establish Camps and review land use permission issues. I continuously
      informed Mr. Un Seop Song(Attorney), your agent, of such efforts and
      all each process. I also know that Mr. Song has kept you up to date with
      the notified information.

      ***

      [ASSEC] understood the situation when we have distinctly mentioned
      that it takes at least 2 years in securing sites and obtaining land use
      permission in case of Korea, at the time of forming a contract with us.

      ***

      After I received your letter on September 2, 2008, I suggested several
      times to your agent, Mr. Un Seop Song, about searching for sites after
      signing the “USSRC License Agreement” since it may take some time
      to find appropriate sites. However, Mr. Un Seop Song stated that
      “USSRC License Agreement” should be made after the site is finalized
      (there are no such articles in the contract) and that it is advisable to do
      so. I took Mr. Un Seop Song’s opinion as yours (USSRS) [sic], making



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      steady efforts in order to finalize sites as soon as possible (Mr. Un Seop
      Song completely knows this matter as well.).

      Due to such effort, our review showed that there are no approval issues
      for Camp establishment for a site that Gimpo-si, a very close satellite
      city, recently recommended. Therefore, we are proceeding executive
      preparation after agreeing to enter into an agreement with Gimpo-si
      about them providing the site before August 30, 2010. We are expecting
      to hold a signing ceremony of the “USSRC License Agreement” in
      Korea by inviting USSRC, as soon as the agreement is concluded
      (during September 2010).


      I am very surprised and confused after receiving your letter, when I am
      proceeding with our work as I stated above.

      ***

      In addition, though it was not in a written document, I have
      communicated through USSRC’s agent Mr. Un Seop Song several
      times to sign the “USSRC License Agreement.[”] However, we were
      told that USSRC wanted to sign the Agreement after finalizing the site
      to establish Space Camp. Therefore, I would like to bring this to your
      attention that I have no legal responsibility whatsoever.

      Moreover, USSRC is still not performing Licensor’s duty regulated in
      VI. A and G in the “USSRC License Agreement” which is attached to
      the contract. Especially, despite the fact that we requested for a manual
      through Mr. Un Seop Song and he delivered such request, I would like
      to clarify that it is still not performed.

(Doc. 88-4, pp. 20–21). Dr. Song quoted the license agreement provisions that

required ASSEC to make available to Odysseia within 120 days of the full payment

of the license fee the Space Manual and prototype design concepts. (Doc. 88-4, pp.

21–22). Dr. Song concluded: “I officially request for a written signature in the

‘USSRC License Agreement’ which is attached to the contract between Odysseia

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and USSRC.” (Doc. 88-4, p. 22). Dr. Song offered to travel to Huntsville to sign

the license agreement. (Doc. 88-4, p. 22).6

       In a July 1, 2010 email to Dr. Song, ASSEC reasserted its right to terminate

the Offer but indicated that it might reconsider its decision to terminate if Odysseia

produced a detailed plan for the Space Camp® project. (Doc. 88-4, p. 23). In the

email, Mr. Kelly wrote:

       I have received your letters and I am sympathetic to your situation.
       Even though we have the right to terminate the agreement as outlined
       in a previous letter to you, we are not without concern. We will wait
       on issuing any new license for Korea pending your response. We will
       require a detailed plan on how you propose to open a Space Camp
       Facility. If this plan is acceptable to us and shows us that you can open
       and operate a facility then we may reconsider our decision to terminate
       the “Offer” agreement and sign a license agreement with you. This new
       license agreement, if signed, shall contain certain milestones that you
       must reach in order to keep the license valid such as, time limits on
       acquiring land, purchasing equipment, and opening the facility. If you
       wish to submit a plan to us then please respond with a yes or no to
       submitting a plan to us within 5 days and I will freeze any discussions
       in Korea with potential licensees. If your response is yes then also
       include a date that the plan will be submitted to us for review.

(Doc. 88-4, p. 23).

       Odysseia responded the same day. (Doc. 88-4, p. 40). Odysseia stated that it

was preparing to enter an agreement with a local government to select a project site

and was proceeding with investor discussions. (Doc. 88-4, p. 40). Dr. Song wrote:



6
 It appears that Dr. Song either sent or resent the June 18, 2010 letter to Mr. Kelly and General
Capps via email on June 20, 2010. (Doc. 88-4, p. 23).

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      Gimpo-si, a local government, recommended a site for Camp to me.
      Camp shall be established in Gimpo-si, a satellite city near Seoul Metro
      city. Our review showed that there are no approval issues for Camp
      establishment. Therefore, we are proceeding executive preparation to
      enter into an agreement by the end of August 2010 with Gimpo-si about
      providing the site[.]

      And also proceeding the discussion with partner who will invest on
      Space Camp. I think it is not that hard to reach a conclusion with
      partner, because a site securing is almost done.

      As I’ve already requested to sign a contract in the last letter, I will
      establish and operate the camp facilities in Korea. A mayor of the
      Gimpo-si, elected by local election in the 2nd of June, holds a
      inauguration in the 1st of July. Therefore, it seems difficult to discuss
      thoroughly about camp site with Gimpo-si. But I have strong
      confidence to make an agreement about site providing by the end of
      August, because of continuous discussion proceeding.

      As you requested, I will provide a detailed schedule about site securing,
      starting camp construction, purchasing camp equipment, time of start
      business, and also I will show you before 15th July, 2010 a specific
      milestone how to establish and operate the camp so that you can review
      my plan thoroughly.

(Doc. 88-4, p. 40).

      In July 2010, Odysseia sent ASSEC a document labeled “Space Camp Korea

Development Plan.” (Doc. 88-4, pp. 25–39).7 The timeline that Odysseia proposed

began with a visit to Huntsville to the U.S. Space & Rocket Center in August 2010.

Odysseia planned to invite ASSEC to attend an event in South Korea in November

2010 during which Odysseia would sign a contract for a site for the Space Camp.


7
 ASSEC’s corporate representative does not deny that ASSEC received Odysseia’s development
plan around the July 2010 timeframe. (Doc. 88-1, p. 31, tpp. 119–20).

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(Doc. 88-4, p. 38). Odysseia projected final approval of the Space Camp design and

related investment agreements in January 2011 and groundbreaking in July of 2011.

(Doc. 88-4, p. 39).      Odysseia projected that Space Camp Korea would begin

operating in March of 2013 with an annual operating cost of $3.5 million. (Doc. 88-

4, pp. 35, 39). Odysseia provided a few initial schematics of the camp facility. (Doc.

88-4, pp. 41–44). If ASSEC discussed Odysseia’s development plan internally or

with Dr. Song, Odysseia’s corporate representative was not aware of the discussions.

(Doc. 88-1, pp. 31–32).

         In an October 12, 2010 email, Odysseia informed ASSEC of project

developments and informed ASSEC that the project was stuck with “no further

progress” because Dr. Song did not have a Space Camp Manual and could not share

details about the project with potential investors. (Doc. 88-5, p. 4). Dr. Song asked

ASSEC to provide a project manual and other information. (Doc. 88-5, p. 4). He

wrote:

         The Camp project is ongoing process in the area of near Seoul Metro,
         Gimpo city recommended, and it’s already mentioned in ‘Space Camp
         Korea Project plan’, submitted in 12 July 2010. When completed the
         land provision agreement with Gimpo I have a plan the Final Licensing
         Agreement ceremony. But there’s no further progress, because I don’t
         have the Camp program manual yet, I requested several times to you,
         for the camp project promotion. (Investors want to know the specifics
         of experience programs composition and how to operate, but I don’t
         explain detailed to let investors know without manual)[.]




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       I requested camp manual in the letter on 1 July 2010 and also requested
       several time through the your Attorney, Mr. Un Seop Song, but I’ve got
       only from Mr. Song “there is no comment and no response”.

       Furthermore, until now there’s no reply and no comment about ‘Space
       Camp Korea Project plan’, submitted on 12 July 2010 from you. And
       so, I require again to provide the Camp program manual. Also, I request
       the reply of USSRC about ‘Space Camp Korea Project plan’ and I need
       catalogues of purchased equipment contained pricing information.

(Doc. 88-5, p. 4).8

       An internal ASSEC file containing details of the Odysseia licensing

agreement bore a sticky note on which Mr. Kelly wrote “Korea – Paid in Full; Option

Expired; Not Open; No Government Approval; Need License Agreement.” (Doc.

88-4, p. 18).




8
  In its summary judgment brief, ASSEC asserts as an undisputed fact that it did not hear from
Odysseia between July 1, 2010 and July 2, 2012. (Doc. 90, pp. 11–12, ¶¶ 41–43). ASSEC does
not account for the July 2010 project plan Odysseia sent ASSEC, for Odysseia’s October 2010
email to ASSEC, for Dr. Song’s communications with Mr. Song (ASSEC’s agent in Korea), or for
the fact that ASSEC did not respond to Odysseia’s July 12, 2010 project plan or to Dr. Song’s
October 2010 email. (Doc. 88-4, pp. 25–39; Doc. 88-5, p. 4).

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Dr. Deborah Barnhart, who replaced General Capps as ASSEC’s CEO and

Executive Director in December 2010, testified that in January 2011, Mr. Kelly

brought this file and others related to licensing opportunities to her for review. Each

folder had a sticky note describing the status of the relevant licensing agreement.

(Doc. 88-17, pp. 17–18, 21–22, tpp. 64–65, 80–81). Dr. Barnhart testified that she

“had no reason to ask questions about the development of Space Camp Korea

because the option in this folder had expired.” (Doc. 88-17, p. 24, tp. 89). Dr.

Barnhart did not ask Mr. Kelly why his note indicated “paid in full” or “need license

agreement.” (Doc. 88-17, p. 24, tp. 90).

      On July 2, 2012, Odysseia sent a letter to ASSEC describing the status of the

Space Camp® project and noting concerns. Dr. Song explained he had made

progress with the project’s budget and site selection. (Doc. 88-5, pp. 38–40). Dr.

Song indicated that the South Korean local government entity with which Odysseia

hoped to work had questions for ASSEC and that he needed ASSEC’s assistance in

promoting the project with investors. (Doc. 88-5, pp. 38–40). Dr. Song wrote:

      First of all, though it’s been a long time since we made a license
      contract of Space camp, I feel really sorry about that the Space Camp
      project in Korea has not been promoted well as planned.

      As I already mentioned in a former letter, I’ve done my utmost to
      promote the project. But I had two critical problems, due to the
      subprime mortgage crisis which was triggered by the bankruptcy of
      Lehman Brothers Holdings, Inc.

      ***

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      Fortunately, by my effort in the last two years, my company’s budget
      is getting better and Yong-in Metropolis, close to Seoul, agreed to
      provide the site and to promote the project together(including budget
      investment). . . .

      Therefore the persons concerned in Yong-in Metropolis and I plan to
      visit the USSRC, bringing the written agreement of joint promotion,
      signed by Yong-in Metropolis and Odyseia [sic]. . . .

      Meanwhile, before visiting USSRC, Yong-in Metropolis wants to make
      a phone call or to contact by E-mail with your operation manager.
      Then, the person concerned in Yong-In Metropolis will ask the reason
      why the project in Korea has been delayed and the entire operating
      conditions of USSRC Space Camp, etc.

      ***

      There were several urging requests of USSRC for promoting project,
      so I endured the burden of it and I feel really sorry about that. So, in
      order to assure the concrete Investment plan, I eagerly did my best.
      Finally, a detailed investment plan was made and co-investors were
      secured. For successful promotion of Space Camp in Korea, the assist
      and support of USSRC as partnership are needed.

(Doc. 88-5, pp. 39–40).

      On July 10, 2012, Wookjin Hyun, the manager of the Park and Recreation

Department of Yong-In, a city in South Korea, sent an email to Jennifer Crozier, the

Executive Director of the U.S. Space & Rocket Center Foundation, asking questions

about Odysseia’s Space Camp® project. (Doc. 88-5, pp. 47–48; Doc. 88-1, p. 7, tp.

23). Ms. Crozier responded by typing her replies into the original email. (Doc. 88-

5, pp. 47–48). The email with Ms. Crozier’s responses states:




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       This is Wookjin Hyun from the City of Youg-In [sic]. I’m am the
       manager of the Park and Recreation Department and I would like to ask
       you five questions. I want to double check some information with you.

       ***
       2. Is the payment for the license finished after the agreement(contract)?

       I’m not sure what this question means. There would be on-going
       residual royalty payments if a Space Camp is operating in Korea.

       3. When is the license expiration date for the Odyssey [sic] (valid until
       when)?

       This would be part of the discussions/negotiations with Odyssey.
       The standard term for a license is 25 years with two additional 5
       year optional extensions.

       4. Is SPACE CAMP provided with equipment designs during the
       operational phase? It is best if equipment is purchased through us.
       The designs are proprietary.

       5. Did you guys issue a license to another company in Korea instead of
       Odyssey? No.

(Doc. 88-5, pp. 47–48).9

       Minutes from a July 18, 2012 joint meeting of ASSEC’s Business and

Executive Committees state under the topic “Licensing”: “Initial Korea contract

was terminated in June 2010; however, interest remains and the Center has been paid

$1.75 million to date.” (Doc. 88-5, p. 45).


9
 Ms. Crozier’s responses incorporated in the original email have been bolded for ease of reading.
According to its website, the Foundation supports the U.S. Space & Rocket Center and the Space
Camp® family of educational programs. U.S. SPACE & ROCKET CENTER FOUNDATION,
https://rocketcenterfoundation.org/ (last visited July 29, 2021). Ms. Crozier served as ASSEC’s
corporate representative in discovery in this matter.

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      Though ASSEC had not issued a license to another party in South Korea in

the summer of 2012, ASSEC was exploring its options. On July 26, 2012, Mr. Song

notified Ms. Crozier that he had located a new company that he believed was a

promising candidate for a Space Camp® licensee in South Korea. (Doc. 88-2, pp.

28–29). Between August of 2012 and December of 2012, ASSEC eliminated

Odysseia from a comprehensive list of ASSEC contracts. In its August 2012

contract report, ASSEC indicated that the expiration date of Odysseia’s Offer was

“TBD” – to be determined. (Doc. 88-5, pp. 5, 15). By December 31, 2012, Odysseia

had disappeared from ASSEC’s contract list, (Doc. 88-5, pp. 22–38), and Mirinae

Development Co., Ltd. had replaced Odysseia as ASSEC’s potential licensee in

South Korea, (Doc. 88-5, p. 31). In its December 31, 2012 contract report, ASSEC

indicated that it had agreed to an “Option to Enter Licensing Agreement” with

Mirinae on October 25, 2012. (Doc. 88-5, p. 31).

      The Option itself is dated October 23, 2012. (Doc. 88-3, p. 30). The Option

between Mirinae and ASSEC calls for a $150,000 nonrefundable option fee which

“is 10% of the total License Fee of $1,500,000” and payable toward the full

$1,500,000 license fee that was due at the signing of the license agreement. (Doc.

88-3, p. 31). Mirinae’s Option with ASSEC obligated ASSEC to “fully cooperate”

with government officials in South Korea who would be responsible for permitting

a Space Camp facility in the country and obligated ASSEC to supply to Mirinae all



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“information and documents” that Mirinae would need to obtain permits and

approvals for the “Space Camp Business.” (Doc. 88-3, p. 33). The Option states:

      8. . . . Licensor and the Licensee further agree that during any period of
      exclusivity that Licensor shall fully cooperate with inquiries by
      governmental officials or on behalf of entities approving, permitting or
      regulating Licensee or the Facility, as defined in the Licensing
      Agreement. Provided Licensee has given permission to Licensor,
      Licensor shall respond to inquiries regarding Space Camp in South
      Korea otherwise Licensor shall respond to inquiries by stating that
      Licensee has the exclusive rights in the Territory, as defined in the
      Licensing Agreement.

      ***

      12. Licensor agrees to provide Licensee the information and documents
      necessary for Licensee to apply for requisite permits and/or
      governmental approvals for the implementation of the Space Camp
      Business, as defined in the Licensing Agreement. The information shall
      include sample curriculum, recommendations on facility design, layout,
      equipment, U.S. standards from which curriculum is developed and
      other documents and/or information deemed necessary by the relevant
      regulatory authority, provided however the information shall not
      include any proprietary or confidential information. It being the intent
      of the Licensor and Licensee to cooperate in providing the required
      documentation to secure approval, permitting and authorization to open
      the Facility, as defined in the Licensing Agreement.

(Doc. 88-3, pp. 33, 34, ¶¶ 8, 12).

      On November 8, 2013, ASSEC signed a licensing agreement with Mirinae.

(Doc. 88-3, pp. 36–63; Doc. 88-3, p. 58 (date of contract)). ASSEC representatives

visited Mirinae representatives in South Korea once before ASSEC representatives

signed the option agreement with Mirinae in October of 2012 during a second visit



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to South Korea. (Doc. 88-1, pp. 42–43, tpp. 165–66). ASSEC representatives

traveled to South Korea at least three times in connection with the Mirinae project.

(Doc. 88-17, p. 29, tp. 111).

      In a November 26, 2013 letter to ASSEC, Dr. Song requested information

about ASSEC’s relationship with Mirinae and asserted that a licensing relationship

between ASSEC and Mirinae would breach ASSEC’s contract with Odysseia. (Doc.

1-5, pp. 3–5). Dr. Song asked ASSEC again to sign a license agreement with

Odysseia. (Doc. 1-5, pp. 3–5). Dr. Song wrote:

      I am writing this letter to you in relation to the licensing agreement
      between USSRC and Odysseia for the license of Space Camp Korea.

      On November 4, 2013, there was the Korean press report for ‘Space
      Camp Korea’ tourist complex construction project to be set up in
      Chuncheon, Korea. The press report stated that USSRC, Mirinae
      Development Co., Ltd., Gangwon Province, and Kyobo Securities Co.,
      Ltd. signed the investment agreement on November 4 for the
      development of Space Camp in Chuncheon.

      As per the press report, USSRC also signed the MOU for the license of
      Space Camp Korea to be granted to Mirinae Development Co., Ltd. in
      October, 2012 (a press even reported that they made the license
      contract), and based on this MOU, said four parties signed the
      investment agreement for execution of ‘Space Camp Korea’.

      As you are well aware, USSRC and Odysseia Co., Ltd. executed the
      offer to enter into licensing agreement for Space Camp Korea on March
      20, 2006 to grant the exclusive right to Odysseia to enter into the
      Licensing Agreement in Korea, and Odysseia paid USD1,750,000 to
      USSRC on or before July 31, 2008 as the license fee specified in the
      offer(Attachment 1). USSRC confirmed such payment and opening of
      the process for signing a final licensing agreement in its letter dated
      September 2, 2008 (Attachment 2).

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Thereafter, USSRC proposed that it would be better for the parties to
sign the final agreement after our selecting the site on which the camp
would be located, and therefore, the execution of the final agreement
was delayed while we have been searching for the proper site.

However, since we did not want the prolonged delay in execution of the
agreement, I demanded that the final execution regardless of the site
selection on June 18, 2010 (Attachment 3), but have not received any
reply from USSRC. In the meantime, Odysseia has nearly completed
the process by selecting and analysing several sites including those in
Yongin city and Gangwha county and preparing the investment plan
and etc. necessary for the construction and operation with a central
government affiliated organization.

Odysseia Co., Ltd. met the said press report when we were about to
notify you of the progress in the procedure for the signature of the final
licensing agreement and discuss the signing schedule with USSRC.

Accordingly, we request that you confirm whether USSRC signed
MOU or the final licensing agreement with Mirinae Development Co.,
Ltd. to the effect stated in the press report. If it is the case, i[t]
constitutes the explicit breach of the contract made between Odysseia
Co., Ltd. and USSRC. In addition, we require that you clarify in
sufficient details how and why USSRC made the MOU with Mirinae
Development Co., Ltd. without any discussion with Odysseia as the
potential licensee. On the other hand, we once again request that
USSRC sign the final licensing agreement as we demanded on June 18,
2010 since we have completed the procedures to establish and operate
Space Camp in Korea. You may suggest the signing schedule and its
formality.

Unless we receive your official response for the execution of the final
licensing agreement until December 25, 2013[,] we will have to take all
legal measures necessary to protect and enforce our rights and interest
and seek the payment of damages which we may incur due to your
breach of the contract.

We look forward to receiving your response in a timely manner.


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(Doc. 1-5, pp. 3–5).

      On December 20, 2013, ASSEC’s lawyers told Odysseia that ASSEC had

entered into a license agreement with Mirinae. The lawyers asked Odysseia to stop

alleging it had entered into a licensing agreement with ASSEC. (Doc. 1-6, pp. 2–3).

The lawyers stated in part:

      If you do not take swift action to remove your claims, the Center may
      face monetary damage and we will seek all remedies from you.

      As you know, you entered into an option for a license agreement. Your
      option began in March, 2006, and it was extended a number of times,
      but it was terminated on June 9, 2010, when you failed to meet the
      conditions within the time required . . . .

      The Center has negotiated a very important relationship with another
      Korean developer which desires to enter into a Space Camp® license
      agreement with the U.S. Space & Rocket Center. However, your recent
      allegations are obstructing that relationship. You have alleged that you
      were somehow led to believe that you could wait to enter into a license
      agreement until after you had identified property, made other
      investment arrangements, and completed other things required during
      the option period. Your allegations are not reasonable or believable for
      several reasons. First, you seem to rely on statements made by Mr. Un
      Seop Song, but he was not the agent of the Center, rather he was your
      agent. It is our understanding that he made the initial contact to the
      Center on your behalf, and he thereafter acted on your behalf. Second,
      the Option Agreement itself states in paragraph 6 that it can “only be
      amended by a writing duly executed pursuant to all corporate or other
      authority by the parties hereto.” As you know, there is no written
      amendment allowing you additional time into an uncertain future to
      make the arrangements that were required under the option agreement.

(Doc. 1-6, pp. 2–3).




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       On February 6, 2014, ASSEC sued Odysseia in the Circuit Court of Madison

County, Alabama. (Doc. 1-1, p. 8). ASSEC sought to enjoin Odysseia “from

claiming any right” under the Offer “to enter into a license agreement with ASSEC

for Space Camp® program in South Korea . . . .” (Doc. 1-1, p. 5). ASSEC also

requested an order declaring that Odysseia’s Offer “expired prior to the execution of

a final license agreement and that [Odysseia] does not have an option to enter into a

license agreement . . . .” (Doc. 1-1, p. 5). Odysseia removed the case to federal

court and, in its answer, asserted counterclaims against ASSEC for breach of

contract, promissory fraud, unjust enrichment/quantum meruit, and promissory

estoppel. (Doc. 1; Doc. 32, pp. 13–18).

                                             III.

       To evaluate Odysseia’s state law claims, the Court begins with a fundamental

question – what is the nature of the Offer document that ASSEC and Odysseia

executed?10 Early on, the Court asked the parties whether the Offer instrument was

an option contract or an agreement to agree. (Doc. 56, pp. 17–22; Doc. 59). The

former is an enforceable agreement under Alabama law; the latter is not. Haddox v.

Walker, 522 So. 2d 266, 269 (Ala. 1988)). Alabama case law suggests, and Odysseia




10
   See McGuire v. Andre, 65 So. 2d 185, 189 (Ala. 1953) (“[I]t is necessary for a disposition of
this case to determine whether the contract which has been designated as Exhibit G is a contract
of purchase and sale or an option.”).

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argues for, a third option: the Offer may be a contract for a license. (Doc. 97, p.

28).11

         To answer the question, the Court must examine the Offer and the attached

draft license agreement “to determine from an examination of the entire contract the

intention of the parties under the terms of the contract.” McGuire v. Andre, 65 So.

2d 185, 189 (Ala. 1953). The “nature of a contract is to be determined by the terms

and conditions of the contract itself and not by the name given to it. It is not a

question of what the parties call a contract, but what they put in the contract, because

the law regards substance and not form.” McGuire, 65 So. 2d at 190. “Whether a

contract     is     ambiguous        is    a     question      of     law      for     the     trial

court, Mass Appraisal Services, Inc. v. Carmichael, 404 So. 2d 666 (Ala.1981), and

when a court determines that a contract is ambiguous, then ascertainment of its

meaning is a question for the factfinder . . . . Miles College, Inc. v. Oliver, 382 So.


11
   Alabama law governs Odysseia’s state-law claims. The Offer document states that it “shall be
interpreted and construed under the laws of the State of Alabama, U.S.A., which laws shall prevail
in the event of any conflict of law, and under which all parties hereto submit for jurisdiction.”
(Doc. 1-3, p. 5, ¶ 12).

In cases like this in which a federal court exercises diversity jurisdiction, “a federal district
court . . . must apply the choice of law rules of the forum state” in determining which law applies.
Clanton v. Inter.Net Global, L.L.C., 435 F.3d 1319, 1323 (11th Cir. 2006) (quoting Trumpet Vine
Invs., N.V. v. Union Capital Partners I, Inc., 92 F.3d 1110, 1115 (11th Cir. 1996)) (citation
omitted). Here, Alabama is the forum state, and in contract disputes, “Alabama courts ‘first look
to the contract to determine whether the parties have specified a particular sovereign’s law to
govern.’” Clanton, 435 F.3d at 1323 (quoting Stovall v. Universal Const. Co., Inc., 893 So. 2d
1090, 1102 (Ala. 2004)) (citation omitted). Because the Offer includes a choice-of-law clause
mandating that Alabama law will govern, the Court applies Alabama substantive law.



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2d 510 (Ala. 1980),” Franklin v. Jones, 466 So. 2d 96, 98 (Ala. 1985). An ambiguity

may appear on the face of a contract, or an ambiguity may be latent such that it “is

shown to exist for the first time by matter outside of the writing.” Carmichael, 404

So. 2d at 672 (citations omitted). In either instance, extrinsic evidence is admissible

to clarify the ambiguity. Carmichael, 404 So. 2d at 672.

      An ordinary contract has four elements:          “an offer and an acceptance,

consideration, and mutual assent to the essential terms of the agreement.” Stacey v.

Peed, 142 So. 3d 529, 531 (Ala. 2013) (quoting Hargrove v. Tree of Life Christian

Day Care Ctr., 699 So. 2d 1242, 1247 (Ala. 1997)). An option contract has only

two elements: “the offer to sell which does not become a contract until accepted

and, second, the completed contract to leave the offer open for a specified time.”

McGuire, 65 So. 2d at 189–90. Option agreements often relate to real estate. In that

context, an option is:

      neither a sale nor an agreement to sell. It is simply a contract by which
      the owner of property agrees with another that he shall have the right to
      buy the property at a fixed price within a certain time. He does not sell
      his land; he does not then agree to sell it; but he does then sell
      something, viz.: the right or privilege to buy at the option or election of
      the other party. The second party gets In praesenti not lands, or an
      agreement that he shall have lands, but he does get something of value,
      that is the right to call for and receive lands if he elects. The owner parts
      with his right to sell his land, except to the other party for a limited
      period.




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Holk v. Snider, 316 So. 2d 675, 677 (Ala. 1975).12 Stated differently, “an option

merely gives the right to purchase within a limited time” for a fixed price “without

imposing any obligation to purchase.” McGuire, 65 So. 2d at 189. The unilateral

contract, “binding only upon the optioner and not the optionee . . . becomes a contract

between the parties only when exercised or accepted according to its terms.”

McGuire, 65 So. 2d at 190.

       Frequently, an option agreement is signed only by the offeror. The mere

execution of an instrument by both parties does not “make[] the instrument a bilateral

contract, but it is certainly an indication that both parties intended to be bound by

the terms and conditions of the instrument.” McGuire, 65 So. 2d at 190 (citing

Gutierrez del Arroyo v. Graham, 227 U.S. 181 (1913) for the proposition that an

agreement for the sale of property appeared to be a contract rather than an option

because the instrument was signed by both parties).13

       The fact that an offer instrument does not bind the offeree to pay the full

contract price “undoubtedly creates a difficulty,” but “the fact that the contract does

not formally bind the party to make payment[] is not regarded as conclusive of its



12
  “In praesenti” means “at present” or “right now.” In Praesenti, BLACK’S LAW DICTIONARY
(11th ed. 2019).
13
  In Graham, the United States Supreme Court, in holding that the instrument at issue was a
contract rather than an option, relied not only on the fact that both parties signed the instrument
but also on the fact that the instrument imposed obligations on both parties and was “not merely a
promise by the [offeror].” Graham, 227 U.S. at 183.

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character.” McGuire, 65 So. 2d at 190. “In other words there need be no express

agreement that the purchaser has agreed to buy, but where it appears from the

contract that the intent was to consummate a sale, the absence of an express

agreement to purchase does not limit the contract merely to one of option, but it will

be held to be a contract of purchase and sale.” McGuire, 65 So. 2d at 190.

      “An option must be supported by some consideration to render it more than

an offer revocable before acceptance. The amount of the consideration is generally

immaterial, but if an option is not supported by consideration, the offer is a mere

gratuity which may be withdrawn at any time before acceptance.” Crowley v. Bass,

445 So. 2d 902, 903 (Ala. 1984). Ordinarily, the consideration for an option

agreement is not the full contract price. McGuire, 65 So. 2d at 190; Bethea v.

McCullough, 70 So. 680, 683 (Ala. 1915). But an optionor may require tender of

the contract price as a condition of acceptance of an option. McMillan, Ltd. v.

Warrior Drilling & Eng’g Co., 512 So. 2d 14, 23 (Ala. 1986) (discussing a stock

purchase option).

      Ordinarily, “‘the contemplated mode of acceptance by an option holder is the

giving of a notice [within the stated period] resulting in a bilateral contract.’”

McMillan, 512 So. 2d at 22 (quoting 1A Corbin on Contracts, “Option Contracts,”

§ 264, at 518 (1950)). “Any restrictions or conditions on the mode of acceptance,

must, therefore, be expressly stated by the optionor in the option contract.”



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McMillan, 512 So. 2d at 22. An optionor “may require that notice of acceptance be

given in writing (Smith v. Cleveland, 289 Ala. 401, 268 So. 2d 14 (1972)), or that

the option be exercised by paying the purchase price within the stated time (Nashville

Trust Co. v. Cleage, 246 Ala. 513, 21 So. 2d 441 (1945)).” McMillan, 512 So. 2d at

22. “[T]he acceptance of an option must be substantially as required by its terms

and all conditions complied with.” McMillan, 512 So. 2d at 22 (quoting Madison

Limestone Co. v. McDonald, 87 So. 2d 539, 544 (Ala. 1956)). Absent a provision

in an option contract dictating “‘the manner by which an option can be exercised, it

is the general rule that any manifestation, either oral or written, indicating an

acceptance on the part of the optionee is sufficient.’” McMillan, 512 So. 2d at 22

(quoting Duprey v. Donahoe, 323 P.2d 903, 905 (Wash. 1958), in turn citing 55 Am.

Jur. 507, § 38; 1 Corbin on Contracts 872, § 264).

      Frequently, after an offeree provides notice of acceptance of an option, the

parties, as part of their mutual obligations upon acceptance, must finalize various

instruments to complete the transaction. McMillan, 512 So. 2d at 23 (quoting

Duprey, 323 P.2d at 906). For example, when a party exercises an option for the

purchase of real property, to complete the sale, the parties must execute documents

conveying title to the property. When the date for completion of all steps required

to finalize the underlying contract – here a license agreement – “‘is not definitely

fixed in the [option] contract, a reasonable time after acceptance [of the option]



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must be allowed to perform’” the underlying contract. McMillan, 512 So. 2d at 23

(quoting Duprey, 323 P.2d at 906) (italics added in McMillan). When an option

agreement is silent as to the method of conveyance, “usage or custom becomes a

part of the contract,” and “the ‘manner of performance as well as the terms of

performance of a contract may be implied from the facts.’” Brown v. Butts, 214 So.

3d 1181, 1188 (Ala. Civ. App. 2016) (quoting first Green Tree Fin. Corp. of Ala. v.

Wampler, 749 So. 2d 409, 415 (Ala. 1999), and then Watts Homes, Inc. v. Alonzo,

452 So. 2d 1331, 1332 (Ala. Civ. App. 1984)). 14

       “The existence vel non of a contract is determined by reference to the

reasonable meaning of the parties’ external and objective manifestations of mutual

assent.” Deeco, Inc. v. 3-M Co., 435 So. 2d 1260, 1262 (Ala. 1983). “Conduct of

one party from which the other may reasonably draw the inference of assent to an

agreement is effective as acceptance.” Deeco, 435 So. 2d at 1262 (citing Mayo v.

Andress, 373 So. 2d 620, 624 (Ala. 1979)). By way of example, the Alabama

Supreme Court has explained that where a draft agreement expressly provides that

it must be signed to become effective but the offeror writes letters to the offeree

acknowledging the contract, the offeror’s conduct raises a question of fact as to the

existence of a contract, despite the fact that the formal agreement between the parties


14
  No option agreement exists when the parties merely indicate their intent to “agree on the terms
of an option” at a later date. Haddox, 522 So. 2d at 269.



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is not fully executed. Deeco, 435 So. 2d at 1262 (citing Empire Machinery Co. v.

Litton Business Telephone Systems, 566 P.2d 1044, 1050 (Ariz. 1977)).

       Applying these principles, the Offer document bears several characteristics of

a contract. The Offer is like a contract in that both ASSEC and Odysseia signed the

Offer; Odysseia had to pay the full license fee as consideration for the Offer; and

Odysseia had an obligation to perform under the Offer in that, until the parties signed

the license agreement, Odysseia had to “promptly” respond to requests from ASSEC

regarding “the status of the development of the facility to be licensed” as well as

“investment information, ownership information, and financial information.” (Doc.

1-3, p. 4, ¶ 4).

       But the Offer also contains language associated with option agreements. For

example, the Offer contains an introductory “WHEREAS” clause that provides:

“WHEREAS, Licensee has requested Licensor to leave its offer to enter into the

License Agreement with Licensee open until . . . August 1, 2017 (unless extended

per paragraph 2).” (Doc. 1-3, p. 2). The Offer also states: “During the period of

effectively [sic] of this agreement the Licensor agrees to negotiate exclusively with

the Licensee to enter into a license agreement for the territory of South Korea.”

(Doc. 1-3, p. 4, ¶ 9).15 And language in the Offer suggests that the parties anticipated


15
  The Offer permits Odysseia to extend by up to one year the Offer Termination Date. The Offer’s
language concerning consideration for the potential one-year extension of the Offer Termination
Date is baffling in English. The Court does not know how this language translated to Korean.

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negotiating some of the details of the formal license agreement after Odysseia

accepted the Offer. The Offer states: “Licensor has offered to enter into a licensing

agreement in substantially the form attached hereto as ‘Exhibit A’ (such agreement,

with such additions, deletions, completions or changes thereto upon which Licensor

and Licensee may mutually agree, being hereafter referred to as the ‘Licensing

Agreement’) . . . .” (Doc. 1-3, p. 2).

       Still, the Offer states that it and the attachments to it – meaning the draft

license agreement – “shall constitute the full and complete agreement between

Licensor and Licensee with respect to the subject matter hereof. . . .” (Doc. 1-3, p.

4, ¶ 5). The Offer also states: “In consideration of Licensor’s offer, Licensee agrees

to pay Licensor a nonrefundable payment in the amount of U.S. $1,750,000 for a

Space Camp® license . . .,” (Doc. 1-3, p. 2, ¶ 2) (emphasis added), not for the option




(Doc. 88-18, pp. 18–20, tpp. 68–69, 71–72, 74–75) (Dr. Song testified that the ASSEC-Odysseia
negotiation was the first time he dealt with companies in English, and Mr. Song, ASSEC’s agent,
gave Dr. Song the Offer and Draft Licensing Agreement and explained the terms of the documents
to him). In English, the Offer provides that, to extend the Offer Termination Date, before July 2,
2007, Odysseia had to elect up to four three-month extensions of the Offer Termination Date and
make “an additional nonrefundable payment of $250,000” for each extension for “a maximum of
an additional $1,000,000 paid,” but each $250,000 extension payment would “reduce the Final
Payment [of $1,000,000] accordingly.” (Doc. 1-3, p. 3, ¶ 2). By definition, the “Final Payment”
was the final $1,000,000 due for the Offer consideration. (Doc. 1-2, p. 2, ¶ 2). The final sentence
of the paragraph concerning the method for extending the Offer Termination Date states: “All
payments will reduce the total nonrefundable amount of $1,750,000 by the amount of payments
thereby reducing the Final Payment accordingly.” (Doc. 1-3, p. 3, ¶ 2). That language is virtually
indecipherable, but reading the language against ASSEC, the party that drafted the provision, the
sentence indicates again that each $250,000 extension payment applies to the $1.75 million license
fee and reduces the $1 million Final Payment. Haddox, 522 So. 2d at 269 (stating that ambiguities
“are to be construed against the drafter.”).

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for a Space Camp® license. And the license fee provision in the draft license

agreement states that ASSEC must receive the entire $1.75 million license fee on or

before the effective date of the license agreement. (Doc. 1-3, p. 10, ¶ V(A)).

Viewing the evidence in the light most favorable to Odysseia, full payment of the

license fee was acceptance of ASSEC’s offer of a Space Camp® license.

       To further confuse matters, full payment of the license fee triggered several

obligations for ASSEC under the draft license agreement. For example, the draft

license agreement provides that ASSEC, “within one hundred twenty (120) days of

the final payment of the license fee,” “shall make available” to Odysseia “prototype

building design concepts of the training center, dormitory, cafeteria, and gift shop,

including interior and exterior designs, signs, and such descriptions or specifications

for equipment for the Facility” and “shall give” Odysseia “reasonable opportunities

to question” ASSEC about those documents. (Doc. 1-3, p. 11, ¶ VI.A; see also Doc.

1-3, p. 12, ¶ VI.G). ASSEC’s obligation is tethered to payment of the $1.75 million

license fee, not the execution of the draft license agreement.

       Having examined the entire Offer document and the attached draft license

agreement, the Court finds that the Offer is ambiguous, and “there remain genuine

issues of material fact as to the true intentions of the parties to the contract at issue.”

J.I.T. Services, Inc. v. Temic Telefunken-RF, Eng’g, L.L.C., 903 So. 2d 852, 858

(Ala. Civ. App. 2004). A factfinder must sort through the evidence and determine



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whether the Offer is an option contract or an ordinary contract for a license

agreement. In weighing the evidence to make this determination, jurors will be able

to consider extrinsic evidence such as the September 2, 2008 letter in which Mike

Kelly, ASSEC’s Vice President of Licensing, congratulated Dr. Song “on becoming

the Space Camp licensee for Korea.” (Doc. 88-4, p. 17). Jurors also will be able to

consider ASSEC’s efforts to enlist Mirinae as a Space Camp licensee in South

Korea. Unlike the “Offer to Enter into Licensing Agreement” that ASSEC signed

with Odysseia, ASSEC entered an “Option to Enter Licensing Agreement” with

Mirinae. (Doc. 88-5, p. 31). The Option instrument between ASSEC and Mirinae

states: “In consideration of Licensor’s offer, Licensee agrees to pay Licensor a

nonrefundable option fee (‘Option Fee’) in the amount of $150,000 USD for a Space

Camp® License. The option fee payment of $150,000 USD is due within 7 business

days upon signing the Option Agreement . . . The Option Fee is 10% of the total

License Fee of $1,500,000 (‘Total License Fee’).” (Doc. 88-3, p. 31, ¶ 2). Mirinae’s

Option required payment of the total $1.5 million license fee “upon signing of the

Licensing Agreement.” (Doc. 88-3, p. 31, ¶ 2).16




 There are several other significant differences between the Mirinae Option and the Odysseia
16

Offer that the Court does not have to reach here to decide that the Odysseia Offer is ambiguous.

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Breach of Contract

      Odysseia contends that ASSEC breached the Offer in several ways: ASSEC

“refus[ed] to move forward and execute the formal license agreement with

Odysseia;” ASSEC “fail[ed] to provide the prototype building design concepts and

the Manual in English;” and ASSEC “breached its exclusivity obligations . . . by

engaging with another Korean developer regarding the development of Space

Camp® Korea.” (Doc. 32, pp. 13–14, ¶¶ 28–30). Odysseia alleges that these

breaches “prevented [it] from developing the Space Camp® program (and related

programs) in South Korea—after having spent millions of dollars on the process.”

(Doc. 32, p. 14, ¶ 31).

      ASSEC contends that the Offer expired because Odysseia did not sign the

license agreement before the Offer Termination Date, relieving ASSEC of its

obligations under the Offer. (Doc. 90, p. 28; Doc. 98, p. 10). ASSEC argues: “The

Option provided that, if Odysseia did not accept ASSEC’s offer by executing a

licensing agreement before the Option’s expiration date, ASSEC would retain the

$1,750,000, and the parties would have no future obligation.” (Doc. 90, p. 25).

ASSEC acknowledges that it provided only a draft license agreement to Odysseia

but contends that it had no obligation to provide a final license agreement for

Odysseia to sign before the Offer Termination Date because “Odysseia could not

provide site or financing information before the Option termination date . . . .” (Doc.



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90, p. 29). ASSEC concludes: “Because no license agreement was signed by the

Option termination date of August 1, 2008, ASSEC had no obligations to Odysseia

after that point.” (Doc. 90, p. 28).

        Not counting the fact that the Offer agreement is ambiguous, several disputed

questions of fact stand in the way of ASSEC’s summary judgment arguments. First,

as noted, under Alabama law, even though the language of the Offer and draft license

agreement required the parties’ signatures, the parties could indicate their mutual

assent to the license agreement through their conduct. Deeco, 435 So. 2d at 1262.

Jurors could find that Odysseia manifested its intent to accept ASSEC’s Space

Camp® license offer by paying the $1.75 million Space Camp® license fee, and

ASSEC manifested its intent to issue a Space Camp license by accepting the $1.75

million fee. That finding of fact would rest comfortably on the September 2, 2008

letter in which Mike Kelly, ASSEC’s Vice President of Licensing, wrote to Dr.

Song:

        This letter is to recognize that you have completed the payment plan, in
        full to purchase a Space Camp license. This requirement completes the
        “Offer to Enter a License Agreement[”] and opens the process for
        signing a final license agreement. Please inform me when you intend to
        sign the final license agreement. Congratulations on becoming the
        Space Camp licensee for Korea.

(Doc. 88-4, p. 17).17


17
  ASSEC argues that Odysseia did not tender its “final Option fee payment to ASSEC” until July
31, 2008, “in breach of the June 30, 2008 deadline” for the final payment. The record indicates

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       Additionally, as noted, under Alabama law, absent a contractual deadline for

the parties to execute a final license agreement, the parties had a reasonable time

after Odysseia accepted ASSEC’s Offer to finalize the license agreement.

McMillan, 512 So. 2d at 23. Where, as here, the drafter of the final agreement erects

hurdles to execution of the agreement, the optionee or offeree is excused from timely

fulfilling its obligation to finalize the contract documents.                Ex parte Keelboat

Concepts, Inc., 938 So. 2d 922, 926 (Ala. 2005) (“This Court has [] held that an

optionee is excused from timely performance under an option contract when the

optionee’s failure to exercise the option within the time required by the contract was

a direct result of the optionor’s conduct.”); Jackson v. L.D. McReynolds, Inc., 430

So. 2d 873, 876 (Ala. 1983) (a lessee did not fail to exercise his option to purchase


that ASSEC accepted all of Odysseia’s payments, and Odysseia made almost all of its payments
past payment due dates. (Doc. 1-3, p. 3). Under Alabama law, an optionor may waive conditions
involving an optionee’s performance under an option contract. See Ex parte Keelboat Concepts,
Inc., 938 So. 2d 922, 925 (Ala. 2005) (“[T]his Court has recognized certain factual situations in
which the optionee may be excused from timely performance in exercising the option under an
option contract.”); Murphy v. Schuster Springs Lumber Co., 111 So. 427, 430 (Ala. 1926) (“But
the principle of waiver goes further than this; and, with respect to the timeliness of the tender, if
no objection is made on that ground, but only on some other, the default as to time is held to be
waived.”). Likewise, an offeror who controls the manner of acceptance of an offer may, through
its conduct, waive the written requirements for the mode of acceptance of the offer. Deeco, 435
So. 2d at 1261-62; see Ex parte Spencer, 111 So. 3d 713, 718 (Ala. 2012) (“The question of waiver,
the voluntary surrender of a known right, is in the main a question of intention, and the authorities
hold that, to be effectual, it must be manifested in some unequivocal manner; if not express, then
by such language or conduct as to evince clearly the intention to surrender.”) (citing Bennecke v.
Connecticut Mut. Life Ins. Co., 105 U.S. 355 (1881); Balfour v. Parkinson, 84 Fed. 855, 861
(C.C.D. Wash. 1898), aff’d sub nom. Balfour v. Hopkins, 93 F. 564 (9th Cir. 1899)). Mr. Kelly’s
September 2, 2008 letter is compelling evidence that ASSEC waived the installment payment
deadlines for Odysseia’s license fee payments and the Offer Termination Date of August 1, 2008
(as extended by the parties pursuant to paragraph 2 of the Offer). (Doc. 1-3, pp. 2–3).



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property on time because the “reason for [the lessee’s] failure to make the necessary

tender within the prescribed time rest[ed] with the [lessor] and not upon himself.”).

The evidence, viewed in the light most favorable to Odysseia, indicates that ASSEC

created prerequisites to the execution of a final license agreement that did not appear

in the Offer. For example, as Dr. Song reminded ASSEC, the Offer did not require

Odysseia to secure a site for Space Camp Korea before signing a license agreement,

(Doc. 88-4, p. 21), but ASSEC refused to send Odysseia a final license agreement

until Odysseia secured a site, (Doc. 96-1, p. 2, ¶ 6).

      ASSEC contends that it did not have to provide a license agreement to

Odysseia for signature because the Offer states:


      4. Prior to execution of the Licensing Agreement, Licensee shall
      promptly and from time to time supply Licensor with all information
      requested by Licensor pertaining to the status of development of the
      facility to be licensed pursuant to the Licensing Agreement (the
      “Facility”), and any other specified information such as, without
      limitation, investment information, ownership information, and
      financial information.

(Doc. 1-3, p. 4, ¶ 4). True, this provision enabled ASSEC to request documents from

Odysseia before the parties signed a license agreement, but the provision does not

say that ASSEC could withhold a license agreement once Odysseia accepted

ASSEC’s offer, even if Odysseia had not produced every document that ASSEC

requested.



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      Jurors reasonably could conclude that ASSEC created a Catch-22 for

Odysseia by using paragraph 4 as an excuse for withholding a final license

agreement. The draft license agreement contemplates that a Space Camp® facility

modeled after the facility in Huntsville, Alabama would be opened within three years

of the execution of a license agreement “subject, however, to Licensor’s fulfillment

of its duties” under the parties’ license agreement. (Doc. 1-3, p. 7, ¶ I.B (defining

“Facility”); Doc. 1-3, p. 9, ¶ IV). ASSEC’s duties under the draft license agreement

included providing Odysseia “reasonable assistance relating to . . . [m]arketing and

promotion.” (Doc. 1-3, p. 11, ¶ VI.B(3)). Dr. Song repeatedly explained that he

needed a copy of a signed license agreement to prove to investors and others with

whom he was negotiating for property for a Space Camp® facility that Odysseia was

the Space Camp licensee for South Korea. (See Doc. 96-1, pp. 2–3, ¶¶ 6–8). ASSEC

also was required to give Odysseia certain documents, including prototype building

design concepts and a “Copy of the Manual in English” within 120 days of

Odysseia’s final payment of the license fee on July 30, 2008. (Doc. 1-3, pp. 11–12,

¶¶ VI.A, VI.G). Odysseia could not engage in productive negotiations for a facility

site without these materials. Jurors could find that, by insisting that Odysseia

provide site information before it would sign a license agreement, ASSEC erected

insurmountable hurdles to the execution of a license agreement, excusing Odysseia’s

failure to sign an agreement. Jackson, 430 So. 2d at 876.



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         The evidence demonstrates that finalizing a license agreement was a simple

task. Mirinae and ASSEC simply made a few handwritten edits to the draft license

agreement attached to Mirinae’s Option, initialed each page, and signed the draft

agreement. (Doc. 88-3, pp. 36-63). ASSEC, the drafter of the license agreement

forms, did not even revise the “date to be determined” language in the Mirinae

license agreement, (Doc. 88-3, p. 36) (italics in license agreement), or provide a

signature line for Col. Lewis, (Doc. 88-3, p. 58). Jurors could conclude that even if

the parties opted to make formal revisions to the draft license agreement attached to

Odysseia’s Offer, ASSEC was the party most capable of revising the draft agreement

to remove the “draft” language and provide Odysseia a clean agreement ready for

signature. ASSEC did not begin a conversation with Odysseia about potential

revisions to the draft license agreement because ASSEC insisted upon new

conditions for a formal license agreement after Odysseia paid the $1.75 license fee.

         Thus, questions of fact preclude summary judgment on Odysseia’s claim that

ASSEC breached the Offer by “refusing to move forward with and execute the

formal license agreement with Odysseia regarding the development of the Space

Camp® program (and related programs) in South Korea pursuant to the parties’

[Offer] agreement.” (Doc. 32, p. 13, ¶ 28). Therefore, the Court denies ASSEC’s

motion for summary judgment on Odysseia’s breach of contract claim. 18


18
     ASSEC argues that Odysseia cannot prove it was damaged by the absence of a signed license

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Promissory Fraud

       Under Alabama law, to prove its promissory fraud claim, Odysseia must show

that it reasonably relied on a false representation of material fact that ASSEC made

and that ASSEC knew when it made the representation that it did not intend to

perform the promised act. See Target Media Partners Operating Co., LLC v.

Specialty Mktg. Corp., 177 So. 3d 843, 866–67 (Ala. 2013). With respect to the

intent element, the Alabama Supreme Court has explained:

       “[F]ailure to perform alone is not sufficient evidence to show a present
       intent not to perform. If it were, then every breach of contract would be
       ‘tantamount to fraud.’” Gadsden Paper & Supply Co. v. Washburn, 554
       So. 2d 983, 987 (Ala. 1989) (citing and quoting Purcell Co. v. Spriggs
       Enters., Inc., 431 So. 2d 515, 519 (Ala. 1983)). Rather, there must be
       some evidence that would indicate a present intent not to perform, even
       if that evidence is only circumstantial. See Byrd v. Lamar, 846 So. 2d
       334, 347 (Ala. 2002) (“Circumstantial evidence is appropriate proof of
       a present intent not to perform in a promissory-fraud case.”),
       and Harrison v. Gibson, 534 So. 2d 257, 259 (Ala. 1988) (“Intent to
       deceive and intent not to perform at the time a promise is made can
       seldom be proven directly . . . .”).

Heisz v. Galt Indus., 93 So. 3d 918, 925–26 (Ala. 2012) (brackets in original). The

Alabama Supreme Court also has explained that:

       Evidence of consistent, but unfulfilled, promises can in some cases
       amount to substantial evidence of an intent to deceive. Goodyear Tire
       [& Rubber Co. v. Washington], 719 So. 2d [774,] 777 [(Ala. 1998)];
       Campbell v. Naman’s Catering, Inc., 842 So. 2d 654, 659 (Ala. 2002).

agreement. ASSEC also argues Odysseia should have mitigated damages by stopping work on the
Space Camp project because Odysseia should have been aware that the License Offer expired.
(Doc. 90, p. 28 n.18). Jurors must determine what period of time was reasonable for ASSEC to
provide and the parties to sign a final license agreement. Odysseia may recover damages for losses
it incurred in that time period.

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      Additionally, “[a] defendant’s intent to deceive can be established
      through circumstantial evidence that relates to events that occurred
      after the alleged misrepresentations were made.” Byrd v. Lamar, 846
      So. 2d 334, 343 (Ala. 2002).

Southland Bank v. A & A Drywall Supply Co., Inc., 21 So. 3d 1196, 1212 (Ala. 2008)

(last bracket in original).   “Although circumstantial evidence may be used to

prove fraudulent intent, it must be of such quality that ‘the jury, as reasonable

persons, may fairly and reasonably infer the ultimate fact to be proved.’” Pinyan v.

Cmty. Bank, 644 So. 2d 919, 924 (Ala. 1994) (quoting Marshall Durbin Farms, Inc.

v. Landers, 470 So. 2d 1098, 1101 (Ala. 1985)).

      Odysseia contends that ASSEC fraudulently promised that it would “execute

and honor the formal license agreement granting to Odysseia the exclusive, licensed

right to develop the [sic] Space Camp Korea (and related programs) upon Odysseia’s

payment of the $1.75 million in licensing fees;” that it would “provide the [] written

assurances that were required by Odysseia for moving the project forward (such as

the prototype building design concepts and ‘Manual in English’) to Odysseia in a

timely manner;” and that Odysseia had become “the Space Camp licensee in Korea.”

(Doc. 32, p. 17, ¶¶ 45–47). Odysseia alleges that ASSEC “had an undisclosed

practice and view that its obligations to foreign licensees were subject to change

without notice, approval, or agreement by the counter-party to the contract.” (Doc.

32, p. 18, ¶ 52).




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      To survive ASSEC’s summary judgment motion, Odysseia must point to

circumstantial evidence that shows that when ASSEC signed the Offer in March of

2006, ASSEC did not intend to enter a license agreement with Odysseia for a Space

Camp® program in South Korea. Evidence relating to the Space Camp manual bears

on ASSEC’s intent. The evidence, viewed in the light most favorable to Odysseia,

shows that the only Space Camp® manual that ASSEC could offer licensees as of

2010 was “very outdated” – so much so that it was prepared with a typewriter. (Doc.

88-1, pp. 29–31, tpp. 112–17). The manual contained some information that was

“still valid and appropriate and accurate as far as how to run a Space Camp,” but

other information in the manual would have to have been updated if Odysseia were

to use it. (Doc. 88-1, pp. 30–31, tpp. 115–17). ASSEC had so few licensees that it

had not updated its manual since at least the 1990s. (Doc. 88-1, pp. 29–30, tpp. 112,

114). Because Odysseia could have paid the entire $1.75 million license fee any

time after the parties signed the Offer on March 20, 2006, ASSEC should have had

an updated manual ready or close to ready when it signed the Offer, but it did not.

That is compelling evidence that in 2006, ASSEC did not intend to finalize a license

agreement with Odysseia.

      The contrast between Odysseia’s Offer from ASSEC and Mirinae’s Option

agreement with ASSEC also sheds light on ASSEC’s intent when it signed the Offer

with Odysseia. Under the Offer and the attached draft license agreement, ASSEC’s



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obligation to provide Space Camp information and marketing support to Odysseia

appears only in the draft license agreement. The arrangement allowed ASSEC to

take the position that it had no obligation to provide support to Odysseia until the

parties signed a license agreement while insisting that Odysseia provide a project

site and evidence of investment in the project as a prerequisite to the execution of

the license agreement. The evidence shows that ASSEC understood that Odysseia

could not meet its demand for a site and for investors without a signed license

agreement.

      ASSEC did not hamstring Mirinae in the same way. Mirinae’s Option with

ASSEC obligated ASSEC to “fully cooperate” with government officials in South

Korea to enable Mirinae to obtain permits for a Space Camp facility in the country

and obligated ASSEC to provide to Mirinae all “information and documents” that

Mirinae would need to obtain permits and approvals for the “Space Camp Business.”

(Doc. 88-3, pp. 33–34). Mirinae did not have to sign a license agreement with

ASSEC to get these materials, so Mirinae had the ability to demonstrate to ASSEC

that it was able to secure a site for its Space Camp project.

      Jurors also may consider evidence that indicates that ASSEC has a pattern of

collecting license fees but refusing to authorize licensees to operate Space Camps.

The record demonstrates that ASSEC collected more than $6.4 million from foreign

corporations interested in pursuing Space Camp® licenses, including $4.2 million



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from a Dubai-based corporation, $1.75 million from Odysseia, and $300,000 from a

Singapore entity. None of those potential licensees operated a Space Camp.

       ASSEC executed a final license agreement with the Dubai-based Space

Investments, but that license expired because the Dubai company did not open a

Space Camp in time. (Doc. 88-1, p. 10, tpp. 35–36). Space Investments had paid

more than $4.2 million to ASSEC as of May 2010. (Doc. 88-1, p. 15, tp. 53; Doc.

88-2, p. 20). Ms. Crozier testified that the Dubai group bought “all the Space Camp

equipment, all the simulators” and that the last she knew the equipment “was in a

warehouse in India.” (Doc. 88-1, p. 63, tpp. 247–48).

       A Singapore entity wanted to create a Southeast Asia Space Camp®. It paid

ASSEC $300,000, never received a final license agreement from ASSEC, and never

received a refund.      (Doc. 88-1, p. 14, tp. 49).         In fact, the only operational

international Space Camp® programs are in Canada and Turkey. (Doc. 88-1, p. 11,

tpp. 37–38).19 ASSEC’s records show the Canadian Space Camp® contract was

entered in January 1992, and the Turkish Space Camp® contract was entered in

December 1996. (Doc. 88-2, p. 22).




19
  Minutes from the November 2, 2007 ASSEC Board Meeting show that ASSEC was discussing
Space Camp® licenses with parties in China, Mexico, Brazil, Malaysia, and India. (Doc. 88-4, p.
15).



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       When Dr. Barnhart assumed control of ASSEC in January 2011, “many

previous contracts . . . had expired.” (Doc. 88-17, p. 21, tp. 77). ASSEC was

struggling with debt of more than $15 million. (Doc. 88-17, p. 23, tp. 85).20 In a

November 2010 news story, General Capps explained that “another arrow in his

financial quiver” was the “lucrative business of selling licenses for foreign space

camps.” (Doc. 88-15, p. 24).21 A jury reasonably could conclude that ASSEC

collected license fees from international companies to generate revenue without

intending to stand up Space Camp® programs abroad.22

       Lastly, ASSEC hired Mr. Song, a South Korean lawyer, to help it negotiate

with a Korean licensee, but ASSEC’s written agreement with Mr. Song expired

when ASSEC received Odysseia’s $1.75 million license fee. (Doc. 96-1, p. 7, ¶ 1.3).

Jurors could conclude from the terms of Mr. Song’s contract that ASSEC had no



20
  In her 30(b)(6) deposition, Ms. Crozier testified ASSEC was carrying around $19 million in “old
debt” as of 2011. (Doc. 88-1, p. 53, tp. 207).
21
   Ms. Crozier disputed that licensing fees were lucrative to ASSEC. (Doc. 88-1, p. 63, tp. 246).
She explained she believed the licensing agreements were lucrative “if they are up and running
and we are getting royalty fees from them.” (Doc. 88-1, p. 63, tp. 246). But Ms. Crozier conceded
ASSEC did not spend “millions of dollars in effort toward” certain licensing agreements. (Doc.
88-1, p. 63, tp. 247). The evidence, viewed in the light most favorable to Odysseia, suggests that
at most, ASSEC had minimal overhead to expense against the $1.75 million license fee ASSEC
received from Odysseia.

22
  This evidence undermines ASSEC’s argument that it is an arm of the State of Alabama. The
State has worked hard to develop foreign business investments in Alabama. It is difficult to
imagine that the State would allow an agency under its umbrella to accept millions of dollars from
foreign investors without either providing a return on the investment or a refund if the investment
did not come to fruition.

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plans to continue to work with Odysseia after it received its $1.75 million license

fee, and those plans existed when ASSEC signed its agreement with Mr. Song on

March 1, 2006. (Doc. 96-1, p. 7).

      Odysseia relied on ASSEC’s representation that it would execute a license

agreement if Odysseia paid a $1.75 million license fee, and Odysseia invested not

only $1.75 million for the license fee but also another $800,000 to develop Space

Camp South Korea. (See Doc. 56, p. 29; Doc. 96-2, p. 4, ¶ 7; Doc. 32, p. 12, ¶ 25).

Thus, Odysseia has evidence of injury and damages.

      Accordingly, the Court denies ASSEC’s motion for summary judgment on

Odysseia’s promissory fraud claim.

Unjust Enrichment and Promissory Estoppel

      To prove ASSEC was unjustly enriched, Odysseia must show ASSEC “holds

money which, in equity and good conscience, belongs to [Odysseia] or holds money

which was improperly paid to [ASSEC] because of mistake or fraud.” Avis Rent A

Car Sys., Inc. v. Heilman, 876 So. 2d 1111, 1122 (Ala. 2003) (internal quotation

marks and citation omitted) (emphasis in Heilman).       “The doctrine of unjust

enrichment is an old equitable remedy permitting the court in equity and good

conscience to disallow one to be unjustly enriched at the expense of another.”

Heilman, 876 So. 2d at 1122 (internal quotation marks and citation omitted)

(emphasis in Heilman). “The purpose of . . . promissory estoppel is to promote



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equity and justice in an individual case by preventing a party from asserting rights

under a general technical rule of law when his own conduct renders the assertion of

such rights contrary to equity and good conscience.” Mazer v. Jackson Ins. Agency,

340 So. 2d 770, 772 (Ala. 1976) (citing First Nat’l Bank of Opp v. Boles, 165 So.

586, 592 (Ala. 1936)). Under Alabama law, equitable remedies are not available

where parties have an enforceable contract, and the party seeking relief may seek

damages for breach of contract. Aldridge v. DaimlerChrysler Corp., 809 So. 2d 785,

794 (Ala. 2001) (“When one seeks to impose liability under the doctrine of

promissory estoppel, we look to the facts to determine whether that doctrine can be

used to create liability, once we have determined that no binding contract existed.”).

      If Odysseia is able to prove that it had an enforceable contract with ASSEC,

then Odysseia’s remedy will lie in contract, not equity. If Odysseia cannot prove

that it had an enforceable contract with ASSEC, then it may pursue its equitable

claims because the evidence, viewed in the light most favorable to Odysseia,

demonstrates that ASSEC holds money that in equity and good conscience belongs

to Odysseia and that ASSEC obtained through mistake or fraud.

      Therefore, the Court denies ASSEC’s motion for summary judgment on

Odysseia’s equitable claims.




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                               Conclusion

     For the reasons discussed above, the Court denies ASSEC’s motion for

summary judgment.

     DONE and ORDERED this August 26, 2021.


                               _________________________________
                               MADELINE HUGHES HAIKALA
                               UNITED STATES DISTRICT JUDGE




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